Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 1 of 10 PageID 5474
Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 2 of 10 PageID 5475
Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 3 of 10 PageID 5476
Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 4 of 10 PageID 5477
Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 5 of 10 PageID 5478
Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 6 of 10 PageID 5479
Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 7 of 10 PageID 5480
Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 8 of 10 PageID 5481
Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 9 of 10 PageID 5482
Case 6:06-cr-00125-CEM-EJK Document 1749 Filed 04/08/09 Page 10 of 10 PageID 5483
